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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                                 MDL2724
PRICING ANTITRUST LITIGATION                                   16-MD-2724

                                                              HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS



                             PRETRIAL ORDER NO. 24
             (FIRST ELECTRONIC CASE MANAGEMENT PROTOCOL ORDER)

        AND NOW, this 26th day of May 2017, in order to promote the efficient management of

this MDL, it is hereby ORDERED that, effective immediately, the Court establishes the

following protocol to govern the structure of the dockets and the filing of documents.

STRUCTURE OF THE DOCKETS

        1.      The "Master Docket," 16-MD-2724, includes all generic pharmaceuticals pricing

antitrust cases filed in or transferred to this Court as part of MDL 2724.

        2.      The Court has directed the Clerk of Court to establish "Lead Cases;" a general

case for each pharmaceutical included in the MDL.

        3.      The Lead Cases include "Class Cases" for each putative class, or group, of

Plaintiffs. The Court has directed the Clerk of Court to establish Class Cases for each

pharmaceutical for the Direct Purchaser Plaintiffs ("DPPs"), End-Payer Plaintiffs ("EPPs"), and

Indirect Reseller Plaintiffs ("IRP"). If there is no pending Class Case for a Plaintiff group for a

particular pharmaceutical, the Class Case will serve as a placeholder for a possible later filing.

       4.       Each Class Case includes the applicable originally-filed "Individual Cases" that

have been filed; these cases will retain their individual case numbers at this time.
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       5.       The Clerk of Court has established the following Lead Cases and Class Cases for

docketing purposes:

Pharmaceutical         Lead Case        Direct             End-Payer           Indirect
                                        Purchaser                              Reseller
Albuterol              16-AL-27240      16-AL-27241         16-AL-27242        16-AL-27243

Amitriptyline          16-AM-27240      16-AM-27241         16-AM-27242        16-AM-27243

Baclofen                16-BC-27240     16-BC-27241         16-BC-27242        16-BC-27243

Benazepril HCTZ        16-BZ-27240      16-BZ-27241         16-BZ-27242        16-BZ-27243

Clobetasol             16-CB-27240      16-CB-27241         16-CB-27242        16-CB-27243

Clomipramine           16-CM-27240      16-CM-27241         16-CM-27242        16-CM-27243

Desonide               16-DS-27240      16-DS-27241         16-DS-27242        16-DS-27243

Digoxin                16-DG-27240      16-DG-27241         16-DG-27242        16-DG-27243

Divalproex ER          16-DV-27240      16-DV-27241        16-DV-27242         16-DV-27243

Doxycycline            16-DX-27240      16-DX-27241        16-DX-27242         16-DX-27243

Econazole              16-EC-27240      16-EC-27241        16-EC-27242         16-EC-27243

Fluocinonide           16-FL-27240      16-FL-27241        16-FL-27242         16-FL-27243

Glyburide              16-GL-27240      16-GL-27241        16-GL-27242         16-GL-27243

Levothyroxine          16-LV-27240      16-LV-27241        16-LV-27242         16-LV-27243

Lidocaine/Prilocaine   16-LD-27240      16-LD-27241        16-LD-27242         16-LD-27243

Pravastatin            16-PV-27240      16-PV-27241        16-PV-27242         16-PV-27243

Propranolol            16-PP-27240      16-PP-27241        16-PP-27242         16-PP-27243

Ursodiol               16-UR-27240      16-UR-27241        16-UR-27242         16-UR-27243




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       6.       The docketing structure allows for the possibility of the filing or transfer of cases

naming additional pharmaceuticals or Plaintiff groups.

FILING OF DOCUMENTS

       7.       Unless otherwise ordered by the Court, only documents that relate to all actions

may be filed on the Master Docket, and shall be captioned as follows:

                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                                 MDL2724
PRICING ANTITRUST LITIGATION                                   16-MD-2724

                                                               HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS



       8.       Documents applicable to all actions relating to a particular pharmaceutical shall

be filed only in the appropriate Lead Case, and shall be captioned as follows:

                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                                MDL2724
PRICING ANTITRUST LITIGATION                                  16-MD-2724
                                                              HON. CYNTHIA M. RUFE

IN RE: [PHARMACEUTICAL NAME] CASES                             16-[XX)-27240


THIS DOCUMENT RELATES TO:

ALL [PHARMACEUTICAL NAME] ACTIONS




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       9.       Documents applicable only to a certain Plaintiff Class shall be filed in the

appropriate Class Case and shall be captioned as follows:

                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                                MDL2724
PRICING ANTITRUST LITIGATION                                  16-MD-2724
                                                              HON. CYNTHIA M. RUFE

IN RE: [PHARMACEUTICAL NAME] CASES


THIS DOCUMENT RELATES TO:

ALL [PLAINTIFF CLASS OR GROUP] ACTIONS                         16-[XX]-2724[X]



       10.      Documents applicable only to an Individual Case shall be filed in both the

Individual Case and the applicable Lead Case, and shall be captioned as follows:

                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                                MDL2724
PRICING ANTITRUST LITIGATION                                  16-MD-2724
                                                              HON. CYNTHIA M. RUFE

IN RE: [PHARMACEUTICAL NAME] CASES                            16-[XX]-27240


THIS DOCUMENT RELATES TO:                                     Civil Action No.

[Name of Plaintifff v. [Name of First Defendant]              [XX]-cv-[XXXX]




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        11.    No later than June 9, 2017, Lead Plaintiffs' Counsel shall file in each Lead Case

and Class Case a Notice setting forth all Individual Cases that fall within the Lead Case or Class

Case.

        12.    No later than June 16, 2017, Defense Liaison Counsel shall file in each Lead

Case and Class Case a Notice setting forth all Defendants that have been named in any

Individual Cases that fall within the Lead Case or Class Case.

        13.    No later than June 23, 2017, all counsel shall enter appearances in each Lead

Case and Class Case in which they represent client[s]. All counsel associated with the same law

firm and representing the same client[ s] shall file a joint entry of appearance.

        14.    New actions filed into the MDL shall list on the Civil Cover Sheet as related cases

the Master Docket, Lead Case, and Class Case.

         It is so ORDERED.




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